DECLARATION OF CRAIG S. TUTTON CONCERNING THE SHOOTING

DEATH OF ANTONIO GONZALES ON THURSDAY, JULY 16, 2015.

STATE OF WISCONSIN )

)SS

MILWAUKEE COUNTY )

I, CRAIG S. TUTTON, state as follows:

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My name is Craig Steven Tutton and I reside at 8533 Glencoe Circle,
Wauwatosa, WI 53226.

This was also my residence on July 16, 2015.

On July 16, 2015, my friend and roommate, Antonio Gonzales (“Tony”), resided
in my home as a tenant under a written lease.

During the late afternoon and early evening of J uly 16, 2015, myself, Tony and
two other friends were out celebrating Tony’s 29" birthday which had occurred

a week or so earlier.

It became apparent to me that our friends wanted to get going and that, in any
event, it was time to get home.

I told Tony that we had to get going and he became upset and angry.

We did head home with our friends and we were both dropped off.

Tony remained and continued to be angry and upset about having to come home.
Inside the doorway of my home, Tony became verbally and physically abusive
towards me. He was loud, and was hitting me by swinging his arrowhead
necklace. I was forced to protect myself and sustained some minor cuts and
bruising.

Hearing the commotion, my son Jack came up from his room downstairs.

Tony would not calm down, and the situation continued with Tony’s verbal
abuse and physical aggression towards me escalating.

Tony also verbally threatened my son, Jack.
During this time, Jack told me that if 1 did not call 911, he would call.
I did call 911 and I simply told the dispatcher that I had an unruly tenant.

911 dispatch told me that Jack and I should leave the house anda squad would
respond.

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21,

Subscribed & sworn to before me

Tony came out of the house as well, but went back in as a squad pulled up to the
front of my house.

Jack said, “Let’s get out of the way.”

At that point, I heard Tony coming down the stairs from his upstairs room and
the clanking of some possible metal.

At Jack’s insistence, I went to the back of my house. The back of my house is
below grade as compared to the front of the house. The garage is built into the
lower level of the house.

I was facing the garage door, but did hear a very loud African American male
voice yell the command: “Put your weapons down” followed by “Drop your
weapons” and then “Put your weapons down!”

I then heard a series of “pops”, 3, 4.0r more. Jack jomed me and I then opened
up the garage door and went upstairs to the main level of my house where we
were met. by the police. ,

Dated this 2/ day of July, 2022.

Craig. §. Tatton

CRAIG SY TUTTON

this_ 2/7 “day of July, 2022.

Oto K S$

Doug! is R. Stern

Not

elf Public, State of Wisconsin

My Commission is permanent

This notarial act involved the use of communication technology.

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